      Case 3:24-cv-00470-B Document 10 Filed 04/17/24              Page 1 of 3 PageID 533



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 FFGGP, INC., AS TRUSTEE,                           §
                                                    §
          Plaintiff,                                §
                                                    §
 v.                                                 §     Civil Action No. 3:24-CV-0470-B
                                                    §
 DEUTSCHE BANK NATIONAL TRUST                       §
 COMPANY, AS TRUSTEE FOR                            §
 SOUNDVIEW HOME LOAN TRUST                          §
 2008-1, ASSET-BACKED                               §
 CERTIFICATES, SERIES 2008-1,                       §
                                                    §
          Defendant.                                §


                           JOINT REPORT NAMING MEDIATOR


         Pursuant to the Scheduling Order (Doc. No. 6), Plaintiff FFGGP, Inc., as Trustee

(“Plaintiff”), and Defendant Deutsche Bank National Trust Company, as Trustee for Soundview

Home Loan Trust 2008-1, Asset-Backed Certificates, Series 2008-1 (“Deutsche Bank Trustee”)

(collectively, the “Parties”) hereby file this Joint Report Naming Mediator.

         The Parties have conferred and agreed to select King Fifer as mediator in this case. Mr.

Fifer’s information is provided below:

         King Fifer
         Burdin Mediations
         4514 Cole Avenue, Suite 1450
         Dallas, TX 75205-4181
         Telephone: (214) 528-1411
         Facsimile: (214) 528-2070
         Email: kjames@burdin-adr.com
         Web: www.burdin-adr.com

         The Parties must contact Karen James to schedule mediation with Mr. Fifer. The Parties

will complete mediation prior to December 13, 2024, in accordance with the Scheduling Order.

JOINT REPORT NAMING MEDIATOR                                                              PAGE 1
   Case 3:24-cv-00470-B Document 10 Filed 04/17/24     Page 2 of 3 PageID 534



                                   Respectfully submitted,

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                                   Facsimile: (713) 229-2501

                                   COUNSEL FOR DEFENDANT

                                   -AND-

                                   /s/ Kenneth S. Harter with permission
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                                   COUNSEL FOR PLAINTIFF




JOINT REPORT NAMING MEDIATOR                                               PAGE 2
   Case 3:24-cv-00470-B Document 10 Filed 04/17/24                  Page 3 of 3 PageID 535



                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 17, 2024, a true and correct copy of the foregoing instrument
was served on the following counsel of record via CM/ECF and/or email according to the
Federal Rules of Civil Procedure:

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       Counsel for Plaintiff

                                              /s/ Helen O. Turner
                                              Counsel for Defendant




JOINT REPORT NAMING MEDIATOR                                                                 PAGE 3
